                       Case 1:21-cr-00078-RCL Document 1 Filed 01/13/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.
                                                                   )
                  JOHN EARLE SULLIVAN                              )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                   in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 1752(a)                             Restricted Building or Grounds
18 U.S.C. §§ 231(a)(3) & 2                      Civil Disorders
40 U.S.C. § 5104(e)(2)                          Violent Entry or Disorderly Conduct




         This criminal complaint is based on these facts:




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                         Matthew Fouler, Special Agent FBI
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by Telephone.
                                                                                                        Robin M. Meriweather
                                                                                                        2021.01.13 17:59:46
Date:             01/13/2021                                                                            -05'00'
                                                                                                Judge’s signature

City and state:                         Washington, D.C.          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title
